     Case 8:19-cr-00061-JVS Document 532 Filed 07/09/21 Page 1 of 6 Page ID #:9195




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 4   Attorney for Defendant
     MICHAEL JOHN AVENATTI
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 6
                              UNITED STATES DISTRICT COURT
 7
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                    SA CR No. 19-061-JVS
10               Plaintiff,                       DEFENDANT’S EX PARTE
                                                  APPLICATION FOR AN ORDER
11                      v.                        EXTENDING DEFENDANT’S
                                                  TEMPORARY RELEASE
12   MICHAEL JOHN AVENATTI,
13               Defendant.
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15
16         Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his
17   counsel of record, H. Dean Steward, hereby files this Ex Parte Application for an Order
18   Extending Defendant’s Temporary Release from July 13, 2021 to August 17, 2021. The
19   government has informed the defense that they will defer to the Court.
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      Dated: July 9, 2021                     Respectfully submitted,
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22
                                             /s/ H. Dean Steward
23                                            H. DEAN STEWARD
24                                            Attorney for Defendant
                                              MICHAEL JOHN AVENATTI
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     Case 8:19-cr-00061-JVS Document 532 Filed 07/09/21 Page 2 of 6 Page ID #:9196




 1         Pursuant to this Court’s prior Orders, Defendant Michael John Avenatti
 2   (“Mr. Avenatti”) is presently on temporary release and home confinement in
 3   Venice, California. Absent a further extension, Mr. Avenatti will be required to
 4   self-surrender on July 13, 2021, the first day of trial in this matter.
 5         Mr. Avenatti respectfully requests the ability to remain on temporary release
 6   through August 17, 2021 for the following reasons:
 7         (1) In order to properly defend Mr. Avenatti at trial and present a proper
 8   defense, undersigned counsel must have significant access to Mr. Avenatti during
 9   the trial of this complex case, which involves well over 1,000,000 pages of
10   discovery, hundreds of exhibits identified by the government, and over 35
11   government witnesses – this necessary access cannot occur if Mr. Avenatti is in
12   custody.
13         (2) The Bureau of Prisons (“BOP”) COVID-19 protocols associated with
14   placing Mr. Avenatti in custody now, including the quarantine requirement, are not
15   conducive to permitting the trial to proceed as scheduled.
16         (3) The BOP COVID-19 protocols associated with holding Mr. Avenatti in
17   custody will severely impede Mr. Avenatti’s ability to meet with his defense team
18   and Mr. Avenatti’s access to discovery, trial exhibits, etc. and infringe on Mr.
19   Avenatti’s right to meaningfully participate in his defense and mount a defense.
20   Mr. Avenatti also needs to be able to provide facts and information to his counsel
21   as the trial progresses.
22         (4) As the Court noted during the final pre-trial conference (June 28, 2021),
23   the risks associated with COVID-19 are still significant and the vaccine is “no
24   silver bullet” – even if one is vaccinated, you can still contract the virus and suffer
25   serious illness.1 The risks of placing someone in custody generally, and the risks to
26   1
      Further, according to recent press reports, Covid-19 cases have begun to
27   dramatically increase again in the Central District, largely as a result of the Delta
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     Case 8:19-cr-00061-JVS Document 532 Filed 07/09/21 Page 3 of 6 Page ID #:9197




 1   Mr. Avenatti in particular, are already well documented in the record in this case.2
 2         (5) Mr. Avenatti has complied with the terms of his temporary release for
 3   well over a year and he continues to comply with the terms without incident. On
 4   May 14, 2021, the Pretrial Services Agency submitted a report to the Court stating
 5   that “Throughout the period of temporary release, the defendant has remained in
 6   compliance and has been cooperative with directives from Pretrial Services” (page
 7   3)(emphasis added). According to PSA, Mr. Avenatti “has shown a pattern of
 8   consistently compliant behavior” and PSA “has not received any new information
 9   that would suggest [Mr. Avenatti] is a flight risk or danger to the community.” Id.
10   Further, in PSA’s view, the government has not provided anything new that would
11   suggest Mr. Avenatti is currently a flight risk or danger to the community. Id.
12   Further, Mr. Avenatti travelled to New York and back this week with no issues or
13   complications.
14         (6) In connection with Mr. Avenatti’s sentencing, which was completed
15   before the Hon. Paul Gardephe in the Southern District of New York yesterday,3
16   (a) Judge Gardephe permitted Mr. Avenatti to remain on bond until September 15,
17   2021 and set that date for Mr. Avenatti to self-surrender and (b) the prosecutors
18   from SDNY informed the court that, after having consulted with their counterparts
19   in this case, they were not seeking Mr. Avenatti’s remand and had concluded that
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     variant. See, e.g., “Coronavirus spread worsens across L.A. County as Delta
21   variant brings rising alarm,” Los Angeles Times, July 9, 2021. The positivity rate
     has doubled in the last week in Los Angeles County and cases have increased
22
     165%.
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23     See, e.g., (a) the Opposition [Docket No. 271] to the Government’s Motion to
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     Terminate and Not Further Extend Defendant Michael John Avenatti’s Temporary
     Release, which is pending, and (b) the accompanying declarations filed with the
25   Opposition, including that of board-certified infectious disease specialist Dr. F.
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     Ramzi Asfour (under seal) [Docket No. 280].
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       A transcript from the hearing is not yet available but it was widely reported in the
27   media and undersigned counsel listened to the sentencing in real time.
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     Case 8:19-cr-00061-JVS Document 532 Filed 07/09/21 Page 4 of 6 Page ID #:9198




 1   Mr. Avenatti could remain out on bond until the completion of the trial in this case,
 2   which they understood would be completed by August 31.
 3         (7) In determining Mr. Avenatti’s sentence, Judge Gardephe specifically
 4   found that Mr. Avenatti had faced “horrible conditions” while in custody in New
 5   York for 100 days, almost all of which was in solitary confinement and/or under
 6   lock down status. He also specifically stated it was hard to believe that the
 7   conditions Mr. Avenatti had to endure could occur in the United States.
 8         (8) Placing Mr. Avenatti in custody now will result in significant further
 9   negative press coverage and make it much more difficult, if not impossible, to
10   avoid additional prejudice to Mr. Avenatti on the eve of trial, including in
11   connection with jury selection. In addition, it will result in additional burdens and
12   impediments being placed on the Court, the defense and the government in
13   connection with the trial. The trial already promises to be challenging enough
14   without these added challenges and obstacles.
15         (9) Remanding Mr. Avenatti on the first day of trial would be punitive and
16   serve no legitimate purpose. There is no prejudice to the government if Mr.
17   Avenatti is permitted to remain on release, but there is significant prejudice to the
18   defense if Mr. Avenatti is remanded.
19         For each of the above reasons, defendant respectfully requests that the Court
20   extend his temporary release to August 17, 2021 under the same conditions
21   previously ordered.
22         Counsel for the defendant and the government conferred and the
23   government’s position is that they will defer to the Court.
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      Dated: July 9, 2021                    Respectfully submitted,
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26                                             /s/ H. Dean Steward
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     Case 8:19-cr-00061-JVS Document 532 Filed 07/09/21 Page 5 of 6 Page ID #:9199



                                         H. DEAN STEWARD
 1
                                        Attorney for Defendant
 2                                      MICHAEL JOHN AVENATTI
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     Case 8:19-cr-00061-JVS Document 532 Filed 07/09/21 Page 6 of 6 Page ID #:9200




 1
                               CERTIFICATE OF SERVICE

 2         I, H. Dean Steward, am a citizen of the United States, and am at least 18 years
 3
     of age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach,
 4
 5   California 92660. I am not a party to the above-entitled action. I have caused, on

 6   July 9, 2021, service of the defendant’s:
 7
      EX PARTE APPLICATION FOR AN ORDER EXTENDING DEFENDANT’S
 8
 9                                TEMPORARY RELEASE

10   on the following party, using the Court’s ECF system:
11
     AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
12
13   I declare under penalty of perjury that the foregoing is true and correct.

14   Executed on July 9, 2021
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16                                           /s/ H. Dean Steward

17                                           H. Dean Steward

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